                                            ORIGINAL                                           08/26/2024


           IN THE SUPREME COURT OF THE STATE OF MONTANA
                                                                                           Case Number: OP 24-0508


                                          OP 24-0508


LUCAS CHARLES SALLEE,

             Petitioner,

      v.
                                                                       ORDER
MONTANA SIXTH JUDICIAL DISTRICT
COURT, HON. BRENDA R. GILBERT,
presiding,
                                                                                    FILED
                                                                                     AUG 2 6 2024
             Respondent.                                                           Bowen Greenwood
                                                                                 Clerk of Supreme Court
                                                                                    State of Montane




       At approximately 4:50 p.m. the Friday preceding his Monday trial on a charge of
Vehicular Homicide While Under the Influence of Alcohol, Petitioner Lucas Charles Sallee
filed a petition for writ of supervisory control and motion to stay the trial. Sallee claims that
the Sixth Judicial District Court's August 22, 2024 order in limine precluding him from
questioning Montana State Crime Lab witnesses about destruction of blood samples violates
his constitutional right to cross-examination, right to fair trial, and right to challenge the
State's evidence. Based on its prior findings of fact, conclusions of law, and order that the
Crime Lab did not act contrary to Montana law when it disposed of Sallee's blood sample in
keeping with its retention policy (which Sallee has not provided to this Court), the District
Court ordered:
       Counsel will be entitled to inquire about whether the Defendant's blood
       sample was disposed of, and when the disposal occurred. Counsel will be
       entitled to inquire about whether the blood sample was DNA tested to confirm
       whether it was Defendant's blood.
       The Defendant will not be permitted to cross-examine the Montana Crime Lab
       witnesses with questions regarding "intentional destruction of the blood,"
       "failure to preserve the blood," or "failure to follow Montana law regarding
       preserving the blood." Defendant is further precluded from referencing such
       allegations in voir dire or in argument to the jury.
       This Court exercises its discretionary authority of supervisory control on a case-by-
case basis following the criteria of M. R. App. P. 14(3).    Stokes v. Mont. Thirteenth Jud.
Dist. Ct., 2011 MT 182, ¶ 5, 361 Mont. 279, 259 P.3d 754 (citations omitted). It is the
Court's general practice to refrain from exercising supervisory control when the petitioner
has an adequate remedy of appeal. E.g., Westphal v. Mont. Eleventh Jud. Dist. Ct., No. OP
21-0387, 405 Mont. 538, 495 P.3d 421 (Aug. 17, 2021) (citing cases). Having reviewed
Sallee's petition and the District Court's Order on the State's motions in limine, we conclude
that Sallee has not met the requirements for review under Rule 14(3) and is not entitled to
stay his August 26 trial.
       IT IS THEREFORE ORDERED that the petition for writ of supervisory control is
DENIED and DISMISSED. Sallee's motion to stay trial is DENIED as moot.
       The Clerk is directed to provide notice of this Order to all counsel of record in Park
County District Court Cause No. DC-2021-45, and to the Hon. Brenda Gilbert, presiding
District Judge.
       DATED this 26th day of August, 2024.




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